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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS


SIERRA CLUB and NATIONAL PARKS                Civil Action No. 4:18-cv-854-BRW
CONSERVATION ASSOCIATION,

                         Plaintiffs,          AMENDED COMPLAINT AND
                                              DEMAND FOR JURY TRIAL
     v.

ENTERGY ARKANSAS, INC., ENTERGY
POWER, LLC., and ENTERGY
MISSISSIPPI, INC.

                     Defendants.
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                                 INTRODUCTION

        1.   This Complaint commences a civil action against Entergy Arkansas,

Inc., Entergy Power, LLC, and Entergy Mississippi, Inc. for violations of the Clean

Air Act (“CAA” or “the Act”), 42 U.S.C. §§ 7401–7671q, at the Independence

Steam Electric Station (“the Independence plant”) located in Newark, Arkansas

and the White Bluff Steam Electric Station (“the White Bluff plant”) located in

Redfield, Arkansas.

                         JURISDICTION AND VENUE

        2.   This court has subject matter over the claims set forth in this

complaint pursuant to 42 U.S.C. § 7604(a) (citizen suit provision of the Clean Air

Act) and 28 U.S.C. § 1331 (federal question statute). This action seeks injunctive

and declaratory relief and civil penalties and is authorized pursuant to 28 U.S.C. §§

2201 and 2202 (declaratory judgment) and 42 U.S.C. §§ 7413, 7604(a) (Clean Air

Act).

        3.   Plaintiffs demand a trial by jury on all issues so triable.

        4.   To the extent required by 42 U.S.C. § 7604(b), Plaintiffs sent notices

of intent to sue for violations of the Clean Air Act set forth in this Complaint on

January 10, 2018 and February 8, 2018 to Defendants and all government officers

required to receive such notice by 42 U.S.C. § 7604(b) and 40 C.F.R. § 54.2.



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      5.     Venue is properly vested in this Court pursuant to 42 U.S.C.

§ 7604(c), because the Independence and White Bluff plants are located in the

Eastern District of Arkansas.

                                     PARTIES

      6.     Plaintiff Sierra Club is an environmental organization with a long

history of service to the residents and communities of Arkansas. Sierra Club’s

national headquarters are located at 2101 Webster St., Suite 1300, Oakland, CA

94612.

      7.     Sierra Club has been working to protect communities, wild places,

and the planet since 1892. With more than 775,800 members throughout the

United States, including 3,080 members in Arkansas, Sierra Club is the nation’s

largest, grassroots environmental organization. Sierra Club is dedicated to the

protection and preservation of the natural and human environment.

      8.     Plaintiff National Parks Conservation Association (“NPCA”) is a

national not-for-profit corporation headquartered at 777 6th Street, NW, Suite 700,

Washington, D.C. 20001. NPCA has over 397,633 members nationwide, including

2,164 in Arkansas. NPCA’s mission is to protect and enhance America’s national

parks for the use and enjoyment of present and future generations.

      9.     Since NPCA was established in 1919, it has advocated for protection

of the natural environment (including air quality) in and around the national parks,
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and it has educated decision makers and the public about the importance of

preserving the parks. NPCA works to convince officials in the Executive Branch

and members of Congress to uphold the laws that protect the public’s use and

enjoyment of the parks and to support new legislation to address threats to the

parks. NPCA also litigates to uphold these laws. Furthermore, NPCA assesses the

health of the parks and the adequacy of park management to better inform the

public and advocate for the parks.

      10.    Entergy Arkansas, Inc. is a domestic, for-profit corporation,

incorporated in Arkansas, and located at 425 West Capitol Avenue, Little Rock,

AR 72201. At all times relevant to this Complaint, Entergy Arkansas, Inc. was and

is an owner or operator of the Independence and White Bluff plants.

      11.    Entergy Arkansas, Inc. is a “person,” as that term is defined in Section

302(e) of the Act, 42 U.S.C § 7602(e).

      12.    Entergy Power, LLC is a domestic, for-profit corporation,

incorporated in Delaware, and located at 425 West Capitol Avenue, Little Rock,

AR 72201. At all times relevant to this Complaint, Entergy Power, LLC was and

is an owner or operator of the Independence plant.

      13.    Entergy Power, LLC is a “person,” as that term is defined in Section

302(e) of the Act, 42 U.S.C § 7602(e).



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      14.    Entergy Mississippi, Inc. is a domestic, for-profit corporation,

incorporated in Mississippi, and located at 308 East Pearl Street, Jackson, MS

39201. At all times relevant to this Complaint, Entergy Mississippi, Inc. was and

is an owner or operator of the Independence plant.

      15.    Entergy Mississippi, Inc. is a “person,” as that term is defined in

Section 302(e) of the Act, 42 U.S.C § 7602(e).

                            PLAINTIFFS’ INJURIES

      16.    The Independence plant is a stationary electric utility generating

station located in Independence County, Arkansas.

      17.    The White Bluff plant is a stationary electric utility generating station

located in Jefferson County, Arkansas.

      18.    Each plant consists of two coal-fired electrical generating units and

associated equipment, and each plant has a nameplate capacity of 1700 megawatts.

      19.    As a result of their coal combustion, both plants release into the

atmosphere significant amounts of air pollution, including sulfur dioxide (“SO2”),

nitrogen oxides (“NOx”), carbon dioxide (“CO2”), carbon monoxide (“CO”),

mercury (“Hg”), and particulate matter (“PM”). Under Clean Air Act regulations,

fossil fuel-fired steam electric plants such as the Independence and White Bluff

plants are considered “major stationary sources” if they have the potential to emit

more than 100 tons per year of any air pollutants. 40 C.F.R. § 52.21(b)(1)(i). In
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2017, the Independence plant emitted 19,487 tons of sulfur dioxide (“SO2”) and

8,695 tons of nitrogen oxides (“NOx”). In 2018, the Independence plant emitted

24,242 tons of SO2 and 7,690 tons of NOx. In 2017, the White Bluff plant emitted

23,212 tons of SO2, 11,418 tons of NOx, 457 tons of PM10, and 263 tons of PM2.5.

In 2018, the White Bluff plant emitted 22,255 tons of SO2 and 6,908 tons of NOx.

      20.    Individually and collectively these pollutants contribute to acid rain,

regional haze, formation of ground level ozone or smog, formation of fine

particulate matter, and pollution of surface waters.

      21.    SO2 pollution is “a medically recognized threat to human health.”

Ohio Power Co. v. U. S. Entvl. Prot. Agency, 729 F.2d 1096, 1097–98 (6th Cir.

1984). It forms sulfates, sulfuric acid mist, and other chemical derivatives that

aggravate respiratory illness, contribute to acid deposition, fall to earth as acid rain,

and impair visibility.

      22.    NOx contributes to acid rain, diminishes water quality, impairs

visibility, and causes ground-level ozone, or smog, which triggers serious

respiratory problems. NOx emissions also contribute to nitrogen dioxide (NO2)

concentrations, and elevated NO2 concentrations can worsen asthma symptoms.

Further, NOx emissions exacerbate atmospheric ozone depletion, and cause

eutrophication of water bodies.



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      23.      Particulate matter emissions vary in size and include fine particles

(PM2.5, or particles 2.5 micrometers or smaller in diameter) and coarse dust or soot

(PM10, or particles less than 10 micrometers in diameter). Breathing particulate

pollution causes premature death, heart attacks, strokes, birth defects, asthma

attacks, lung damage, Sudden Infant Death Syndrome and low birth weight.

Particle pollution is especially dangerous for the elderly, children, and those with

respiratory illnesses. Particulate pollution also causes haze, impairs visibility, and

alters nutrient balances in waters and soils. Fine particulate matter causes or

exacerbates many respiratory illnesses that can cross from the lungs into the human

bloodstream and can cause injury to other organs in the body, including damage to

the brain and nervous system.

      24.       The plants’ particulate matter emissions contain many toxic heavy

metals, including mercury. Mercury emissions from the plants pollute waterways

and deposit onto plants, land, and structures. Mercury is a potent neurotoxin

linked to negative biological effects on human health, including effects on fetuses,

developmental delays in children, retardation, and autism. Mercury does not

dissipate in the environment; rather, it bioaccumulates in fish and wildlife

populations and persists indefinitely.

      25.    As shown, in part, by declarations attached to this Complaint as

Exhibit A, Plaintiffs’ members, staff, and volunteers live, work, recreate, own
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property, and fish in the areas most affected by the Independence and White Bluff

plants. Illegal air pollution from these plants injures Plaintiffs’ members, staff, and

volunteers’ aesthetic, recreational, environmental, spiritual, economic, educational,

and health interests in these areas. Poor air quality injures human health, fish and

wildlife, vegetation, visibility, water quality, cultural resources, including national

parks and wilderness areas, and property in areas used by Plaintiffs’ members.

Unless the relief requested herein is granted, the violations of the Clean Air Act by

these plants will continue to injure human health, fish and wildlife, vegetation,

visibility, water quality, cultural resources, and property in areas used by Plaintiffs’

members.

      26.    As shown, in part, by declarations attached to this Complaint as

Exhibit A, Plaintiffs’ members, volunteers and staff are aware of the health and

environmental impacts associated with the air pollution from the Independence and

White Bluff plants and are concerned about harm to their health and the

surrounding environment, including the public lands and natural resources they

own, use, and enjoy.

      27.    As shown, in part, by declarations attached to this Complaint as

Exhibit A, the illegal and excessive discharges of pollution from the Independence

and White Bluff plants injure Plaintiffs’ members’ diverse interests. These

interests include, but are not limited to: 1) breathing air free from the plants’
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excessive pollutant emissions, 2) enjoying the natural ecology of the region free

from air pollution-related impacts, including hiking, viewing and photographing

plants and wildlife at places including the Arkansas River and the Buffalo National

River, 3) viewing Arkansas scenery including along the Arkansas River and at

Clean Air Act designated Class I areas including the Upper Buffalo Wilderness

and the Caney Creek Wilderness, 40 C.F.R. § 81.404, that are unimpaired by

pollution from the plants, or by the smog, haze, and other aesthetic damage caused

(in whole or in part) by the plants’ emissions, 4) preventing excessive health care

costs and other economic damages caused by or contributed to by the plants’

pollutant discharges, 5) enjoying the region’s cultural and spiritual resources that

are susceptible to air pollution-related impacts, and 6) benefiting from economic

resources that Plaintiffs’ members reasonably fear will be adversely impacted by

pollution from the plants. Plaintiffs’ members’ interests have been and, unless the

relief requested herein is granted, will continue to be, adversely affected by

Defendants’ violations of the CAA.

                              LEGAL BACKGROUND

      28.       The Clean Air Act is designed to “protect and enhance the quality of

the Nation’s air resources so as to promote the public health and welfare and the

productive capacity of its population.” Section 101(b)(l) of the Act, 42 U.S.C.

§ 7401(b)(l).
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                    The National Ambient Air Quality Standards

      29.    Section 109 of the Act, 42 U.S.C. § 7409, requires the Administrator

of the United States Environmental Protection Agency (“U.S. EPA”) to promulgate

regulations establishing primary and secondary national ambient air quality

standards (“NAAQS” or “air quality standards”) for those air pollutants (“criteria

pollutants”) for which air quality criteria have been issued pursuant to Section 108

of the Act, 42 U.S.C. § 7408. The primary air quality standards are requisite to

protect the public health with an adequate margin of safety, and the secondary air

quality standards are requisite to protect the public welfare from any known or

anticipated adverse effects associated with the presence of the air pollutant in the

ambient air. 42 U.S.C. § 7409(b).

      30.    Pursuant to Sections 108 and 109, 42 U.S.C. §§ 7408 and 7409, U.S.

EPA has identified SO2 and NO2 as criteria pollutants and has promulgated air

quality standards for these pollutants. 40 C.F.R. §§ 50.4, 50.5, 50.11, and 50.17.

      31.    Under Section 107(d) of the Act, 42 U.S.C. § 7407(d), each state is

required to designate those areas within its boundaries where the air quality is

better or worse than the air quality standards for each criteria pollutant, or where

the air quality cannot be classified due to insufficient data. An area that meets the

air quality standard for a particular pollutant is termed an “attainment” area with

respect to such pollutant. Id. at § 7407(d)(1)(A)(ii). An area that does not meet the
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air quality standard for a particular pollutant is termed a “nonattainment” area with

respect to that pollutant. Id. at § 7407(d)(1)(A)(i). An area that cannot be

classified as either “attainment” or “nonattainment” with respect to a particular

pollutant due to insufficient data is termed “unclassifiable” with respect to that

pollutant and, under the Clean Air Act, is viewed the same as an attainment area.

Id. at § 7407(d)(1)(A)(iii).

      32.    The Independence plant is located in Independence County, Arkansas.

At the times relevant to this complaint, Independence County has been classified as

either unclassifiable/attainment or unclassifiable for SO2 and

unclassifiable/attainment for NO2. 40 C.F.R. § 81.304.

      33.    The White Bluff plant is located in Jefferson County, Arkansas. At

the times relevant to this complaint, Jefferson County has been classified as

unclassifiable/attainment for SO2 and NO2. 40 C.F.R. § 81.304.

                       Prevention of Significant Deterioration

      34.    Part C of Title I of the Act, 42 U.S.C. §§ 7470-7492, sets forth

requirements for the prevention of significant deterioration of air quality in those

areas designated as either attainment or unclassifiable for purposes of meeting the

air quality standards. These requirements are designed to protect public health and

welfare, to assure that economic growth will occur in a manner consistent with the

preservation of existing clean air resources, and to assure that any decision to
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permit increased air pollution is made only after careful evaluation of all the

consequences of such a decision and after public participation in the decision

making process. 42 U.S.C. § 7470. These provisions are referred to herein as the

“PSD program.”

      35.    PSD is intended to “protect, preserve and enhance the air quality in

national parks, national wilderness areas, national monuments, national seashores

and other areas of special national or regional natural, recreational, scenic or

historic value.” 42 U.S.C. § 7470. These protected areas have the best air quality

in the country attaining or exceeding the minimum levels mandated by the

NAAQS, which establish standards to protect public health and welfare. The

cleanest air is found in Class I areas. To preserve the pristine air quality in these

public lands, the PSD permitting program affords Class I areas with the highest

level of protection from major industrial sources of pollution.

      36.    As part of the PSD program, Section 165(a) of the Act, 42 U.S.C.

§ 7475(a), among other things, prohibits the “construction” of a “major emitting

facility” in an area designated as attainment or unclassifiable unless a permit has

been issued that comports with the requirements of Section 165, and the facility

employs the “Best Available Control Technology” (“BACT”) for each pollutant

subject to regulation under the Act that is emitted from the facility.



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      37.    Section 169(2)(c) of the Act, 42 U.S.C. § 7479(2)(c), defines

“construction” as including “modification” (as defined in CAA Section 111(a)).

“Modification” is defined in CAA Section 111(a)(4), 42 U.S.C. § 7411(a)(4), to be

“any physical change in, or change in the method of operation of, a stationary

source which increases the amount of any air pollutant emitted by such source or

which results in the emission of any air pollutant not previously emitted.”

      38.    Section 169(1) of the Act, 42 U.S.C. § 7479(1), designates fossil-fuel

fired steam electric plants of more than 250 million British thermal units per hour

heat input that emit or have the potential to emit 100 tons per year or more of any

air pollutant to be “major emitting facilities.”

      39.    Section 169(3) of the Act, 42 U.S.C. § 7479(3) defines BACT, in

pertinent part, as

      [A]n emission limitation based on the maximum degree of reduction of
      each pollutant subject to regulation under this chapter emitted from or
      which results from any major emitting facility, which the permitting
      authority, on a case-by-case basis, taking into account energy,
      environmental, and economic impacts and other costs, determines is
      achievable for such facility .... In no event shall application of “best
      available control technology” result in emissions of any pollutants
      which will exceed the emissions allowed by any applicable standard
      established pursuant to section 7411 ... of this title.

      40.    CAA Section 165(a)(3), 42 U.S.C. § 7475(a)(3), allows issuance of a

PSD permit only if “the owner or operator of such facility demonstrates, as

required pursuant to section 7410(j) of this title, that emissions from construction
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or operation of such facility” will not compromise compliance with applicable air

quality standards.

      41.    Pursuant to CAA Section 110, 42 U.S.C. § 7410, each State must

adopt and submit to the U.S. EPA for approval a State Implementation Plan

(“SIP”) that includes, among other things, regulations to prevent the significant

deterioration of air quality under CAA Sections 161-165, 42 U.S.C. §§ 7471-7475.

Section 161 of the Act, 42 U.S.C. § 7471, requires that each applicable SIP contain

a PSD program.

      42.    Pursuant to CAA Section 302(q), 42 U.S.C. § 7602(q), an applicable

implementation plan is the implementation plan, or most recent revision thereof,

which has been approved by U.S. EPA pursuant to CAA Section 110, 42 U.S.C. §

7410, or promulgated by U.S. EPA pursuant to CAA Section 110(c), 42 U.S.C. §

7410(c), and which implements the relevant requirements of the Act. Upon U.S.

EPA approval, SIP requirements are federally enforceable under Section 113 of the

Act, 42 U.S.C. § 7413, and 40 C.F.R. § 52.23.

      43.    A state may comply with CAA Section 161, 42 U.S.C. § 7471, by

having its own PSD regulations approved by U.S. EPA as part of its SIP, which

must be at least as stringent as those set forth at 40 C.F.R. § 51.166. If a state does

not have a PSD program that has been approved by U.S. EPA and incorporated



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into the SIP, then the U.S. EPA federal PSD regulations set forth at 40 C.F.R. §

52.21 shall be incorporated by reference into the SIP. 40 C.F.R. § 52.21(a).

                      The Title V Operating Permit Program

      44.    Title V of the Act, 42 U.S.C. §§ 7661-7661f, establishes an operating

permit program for certain sources, including “major sources” and any source

required to have a PSD permit. A “major source” for purposes of Title V is

defined, among other things, as a source with a potential to emit greater than 100

tons per year of any criteria pollutant. 42 U.S.C. § 7661(2)(B); id. § 7602(j).

      45.    Pursuant to Section 502(b) of the Act, 42 U.S.C. § 7661a(b), on July

21, 1992, the U.S. EPA promulgated regulations implementing the requirements of

Title V and established the minimum elements of a major source operating permit

program to be administered by any air pollution control agency. 57 Fed. Reg.

32,250 (July 21, 1992). These regulations are codified at 40 C.F.R. Part 70.

                 The State of Arkansas’ PSD and Title V Programs

      46.    The State of Arkansas’ State Implementation Plan contains elements

that make up its PSD program, including Regulation 19, Chapter 9, and Regulation

26. See 72 Fed. Reg. 18,394 (Apr. 12, 2007), 66 Fed. Reg. 51,312 (Oct. 9, 2001),

and 80 Fed. Reg. 11,573 (Mar. 4, 2015).




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      47.    The State of Arkansas’ Part 70 Operating Permit program, which

implements Title V of the Clean Air Act, contains elements included in its State

Implementation plan in Regulation 26. See 66 Fed. Reg. 51,312 (Oct. 9, 2001).

      48.    The Arkansas PSD program, as codified in the SIP, incorporates by

reference U.S. EPA’s definition of “major source.” Reg. 19.903(D). Major

sources of air pollution include fossil-fuel fired steam electric plants of more than

250 million British thermal units per hour heat input that have the potential to emit

100 tons per year or more of any air pollutant. 40 C.F.R. § 52.21(b)(1).

      49.    The Arkansas PSD program, as codified in the SIP, incorporates by

reference U.S. EPA’s definition of “major modification.” Reg. 19.903(D). A

“major modification” is “any physical change in, or change in the method of

operation of, a major stationary source that would result in a significant emissions

increase and a significant net emissions increase of a regulated NSR pollutant from

the major stationary source.” 40 C.F.R. § 52.21(b)(2).

      50.    The Arkansas PSD program, as codified in the SIP, in part at

Regulation 19.904(A), incorporates by reference the following applicability

procedures to determine if a project is a major modification. Projects at existing

emission units require a pre-project comparison between “projected actual

emissions” and “baseline actual emissions” to determine if the project would result

in a “significant emissions increase.” 40 C.F.R. §§ 52.21(a)(2)(iv)(b) and (c). If a
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project would result in a “significant emissions increase” and the project would

also result in a “significant net emissions increase” considering all

contemporaneous emission increases and decreases at the plant, then the project is

considered a “major modification.” 40 C.F.R. §§ 52.21(a)(2)(iv)(a), (b)(2), (b)(3),

(b)(23). The regulations further provide that “[r]egardless of any such

preconstruction projections, a major modification results if the project causes a

significant emissions increase and a significant net emissions increase.” 40 C.F.R.

§ 52.21(a)(2)(iv)(b).

      51.     The Arkansas PSD program, as codified in the SIP at Regulation

19.903(D), incorporates by reference the following definition from 40 C.F.R. §

52.21(b)(23): “Significant” means “in reference to a net emissions increase or the

potential of a source to emit any of the following pollutants, a rate of emission that

would equal or exceed any of the following rates: ... Nitrogen oxides: 40 [tons per

year]; Sulfur dioxide: 40 [tons per year].”

      52.    The Arkansas PSD program, as codified in the SIP at Regulation

19.904(A), incorporates by reference the following requirements from 40 C.F.R.

§ 52.21(j)-(p): BACT “shall apply” to the air pollutants triggering PSD review as

“major modifications.” In addition, each application for a permit for construction

or major modification must include, among other things, consultation with

implicated federal land managers and an analysis of ambient air quality and the
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impact of the construction or major modification on air quality, visibility, soils and

vegetation.

      53.     Under the Arkansas State Implementation Plan, the requirement to

obtain a Part 70 permit applies to all major sources. Reg. 26.302(A).

      54.     A major source for the purposes of Part 70 includes any “major

stationary source” as defined in 42 U.S.C. § 7602. 40 C.F.R. § 70.2; 42 U.S.C.

§ 7661(2)(B).

      55.     42 U.S.C. § 7602(j) defines major stationary source to include: “any

stationary facility or source of air pollutants which directly emits, or has the

potential to emit, one hundred tons per year or more of any air pollutant.”

      56.     Furthermore, under the Arkansas State Implementation Plan, “No part

70 source shall begin construction of a new emissions unit or begin modifications

to an existing emissions unit prior to obtaining a modified part 70 permit.” Reg.

26.301(C).

      57.     Moreover, under the Arkansas State Implementation Plan, “No part 70

source may operate unless it is operating in compliance with a part 70 permit.” Id.

at 26.301(A).

                        New Source Performance Standards

      58.     Clean Air Act Section 111(b)(1)(A), 42 U.S.C. § 7411(b)(1)(A),

requires the Administrator of EPA to publish a list of categories of stationary
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sources that emit or may emit any air pollutant. The list must include any

categories of sources which are determined to cause or significantly contribute to

air pollution which may endanger public health or welfare.

      59.    Clean Air Act Section 111(b)(1)(8), 42 U.S.C. § 7411(b)(1)(B),

requires the Administrator of EPA to promulgate regulations establishing federal

standards of performance for new sources of air pollutants within each of these

categories. “New sources” are defined as stationary sources, the construction or

modification of which is commenced after the publication of the regulations or

proposed regulations prescribing a standard of performance applicable to such

source. 42 U.S.C. § 7411(a)(2).

      60.    Pursuant to Clean Air Act Section 111(b)(1)(A), 42 U.S.C.

§ 7411(b)(1)(A), EPA has promulgated NSPS Subpart D, 40 C.F.R. §§ 60.40 - 48,

which applies to fossil-fuel-fired steam generating units of more than 73

megawatts that commenced construction or modification after August 17, 1971,

such as the White Bluff plant.

                                       Opacity

      61.    The standard for particulate matter (PM) in NSPS Subpart D provides

in pertinent part that “no owner or operator subject to the provisions of this subpart

shall cause to be discharged into the atmosphere from any affected facility any



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gases that . . . [e]xhibit greater than 20 percent opacity except for one six-minute

period per hour of not more than 27 percent opacity.” 40 C.F.R. § 60.42(a)(2).

      62.    Furthermore, pursuant to Section 3(b) of Permit # 0263-AOP-R7 (the

“White Bluff Title V Permit”) issued August 9, 2012 to Entergy Arkansas, Inc. by

the Arkansas Department of Environmental Quality (“ADEQ”), and renewed on

January 22, 2015 (R8), September 25, 2015 (R9), May 10, 2016 (R10), and

November 8, 2017 (R11), opacity from White Bluff units SN-01 and SN-02 “shall

not exceed 20 percent except for one six-minute period per hour of not more than

27 percent opacity and as except as provided by 40 C.F.R. §§ 60.8 and 60.11.”

      63.    Also, pursuant to Section 6 of the White Bluff Title V Permit, as

renewed on January 22, 2015 (R8), September 25, 2015 (R9), May 10, 2016 (R10),

and November 8, 2017 (R11):

             The permittee shall not cause to be discharged to the atmosphere from
             the boilers any emissions which exhibit an opacity greater than 20
             percent when firing coal or No. 2 fuel oil. The opacity shall not
             exceed 20 percent (6-minute average), except for one 6-minute period
             per hour not to exceed 27 percent. Opacity exceedances shall be
             reported in accordance with Specific Condition #7.


                              Enforcement Provisions

      64.     The Clean Air Act provides a cause of action for “any person” to file

suit against any other person who is alleged to have violated or be in violation of

an emission standard or limitation under the CAA. 42 U.S.C. § 7604(a)(1).
                                          20
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      65.    Additionally, the Act provides a separate cause of action by any

person against any other person who constructs any new or modifies any existing

major facility without the required permits. 42 U.S.C. § 7604(a)(3).

      66.    The Plaintiffs and Defendants in this case are all “persons” within the

meaning of the Clean Air Act. 42 U.S.C. § 7602(e).

      67.    An “emission standard or limitation,” within the meaning of 42 U.S.C.

§ 7604(a)(1), is defined in 42 U.S.C. § 7604(f)(4).

      68.    An “emission standard or limitation” includes “any . . . standard . . .

under any applicable [s]tate implementation plan” and “any requirement to obtain a

permit as a condition of operations.” 42 U.S.C. § 7604(f)(4).

      69.    The Court is authorized to order injunctive relief as well as civil

penalties in amounts up to $37,500 per day per violation for violations occurring

after January 12, 2009 until November 2, 2015, and up to $99,681 per day per

violation for violations occurring after November 2, 2015 and for which penalties

are assessed on or after February 6, 2019. 42 U.S.C. §§ 7413(b) and 7413(e); 40

C.F.R. Part 19.4.

      70.     Penalties are paid to the United States Treasury, except that the

Court may authorize that penalties up to $100,000 be paid into a beneficial

mitigation project fund used to enhance the public health or environment. 42

U.S.C. § 7604(g)(2).
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                           FACTUAL BACKGROUND

      71.    The Independence plant is a “fossil fuel-fired steam electric plant of

more than 250 million British thermal units per hour heat input” with a potential to

emit more than 100 tons per year of SO2 and NOx. Therefore, the plant constitutes

a “major stationary source” within the meaning of Reg. 19.903(D) and 40 C.F.R. §

52.21(b)(1)(i)(a) and is a “major emitting facility” within the meaning of Section

169(1) of the Act, 42 U.S.C. § 7479(1).

      72.    The White Bluff plant is a “[f]ossil fuel-fired steam electric plant[] of

more than 250 million British thermal units per hour heat input” with a potential to

emit more than 100 tons per year of SO2 and NOx. Therefore, the plant constitutes

a “major stationary source” within the meaning of Reg. 19.903(D) and 40 C.F.R. §

52.21(b)(1)(i)(a) and is a “major emitting facility” within the meaning of Section

169(1) of the Act, 42 U.S.C. § 7479(1).

      73.    The Independence plant is a “major source” under 42 U.S.C. § 7602

because it emits or has the potential to emit more than 100 tons per year of SO2 and

NOx, and therefore it is a major source under Arkansas’ Part 70 program. See 40

C.F.R. § 70.2; 42 U.S.C. § 7661(2).

      74.    The White Bluff plant is a “major source” under 42 U.S.C. § 7602

because it emits or has the potential to emit more than 100 tons per year of SO2 and



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NOx, and therefore it is a major source under Arkansas’ Part 70 program. See 40

C.F.R. § 70.2; 42 U.S.C. § 7661(2).

       75.       From on or about February 28, 2009 to April 17, 2009 (“2009

Independence Unit 1 Outage”), Defendants undertook a planned outage at Unit 1 at

the Independence plant.

       76.       During the 2009 Independence Unit 1 Outage, Defendants made a

number of physical changes and/or changes in the method of operation at

Independence Unit 1 including, but not limited to, replacement of the economizer

in the boiler.

       77.       The physical changes and/or changes in the method of operation at

Unit 1 during the 2009 Independence Unit 1 Outage caused emissions of SO2 for at

least one 12-month period beginning on or after April 2010 that exceeded baseline

actual emissions for any consecutive 24-month period within the 5-year period

immediately preceding commencement of the 2009 Independence Unit 1 Outage

by an amount greater than the applicable PSD significance level.

       78.       Because the physical changes and changes in the method of operation

at Unit 1 during the 2009 Independence Unit 1 Outage resulted in post-project

significant emissions increases and significant net emissions increases for SO2, a

major modification occurred for that pollutant. Defendants did not obtain a PSD

permit for that major modification and they are operating the Independence plant
                                           23
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without completing a permit application for such permit, without the permit itself,

and without complying with the conditions that would be imposed by such permit,

including but not limited to emission limitations that would be imposed by that

permit pursuant to BACT requirements.

       79.       Moreover, Defendants did not obtain a modified Part 70 permit prior

to commencing work on the modification described in the previous paragraph, yet

they are operating the Independence plant without that modified Part 70 permit,

which would have incorporated terms and conditions from a PSD permit, including

emission limitations that would be imposed by a PSD permit pursuant to BACT

requirements.

       80.       From on or about September 14, 2008 to November 4, 2008 (“2008

Independence Unit 2 Outage”), Defendants undertook a planned outage at Unit 2 at

the Independence plant.

       81.       During the 2008 Independence Unit 2 Outage, Defendants made a

number of physical changes and/or changes in the method of operation at

Independence Unit 2 including, but not limited to, replacement of the economizer

in the boiler.

       82.       The physical changes and/or changes in the method of operation at

Unit 2 during the 2008 Independence Unit 2 Outage caused emissions of SO2 for at

least one 12-month period beginning on or after June 2009 that exceeded baseline
                                           24
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actual emissions for any consecutive 24-month period within the 5-year period

immediately preceding commencement of the 2008 Independence Unit 2 Outage

by an amount greater than the applicable PSD significance level.

      83.    Because the physical changes and changes in the method of operation

at Unit 2 during the 2008 Independence Unit 2 Outage resulted in post-project

significant emissions increases and significant net emissions increases for SO2, a

major modification occurred for that pollutant. Defendants did not obtain a PSD

permit for that major modification and they are operating the Independence plant

without completing a permit application for such permit, without the permit itself,

and without complying with the conditions that would be imposed by such permit,

including but not limited to emission limitations that would be imposed by that

permit pursuant to BACT requirements.

      84.    Moreover, Defendants did not obtain a modified Part 70 permit prior

to commencing work on the modification described in the previous paragraph, yet

they are operating the Independence plant without that modified Part 70 permit,

which would have incorporated terms and conditions from a PSD permit, including

emission limitations that would be imposed by a PSD permit pursuant to BACT

requirements.




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      85.    From on or about September 14, 2007 to November 18, 2007 (“2007

White Bluff Unit 2 Outage”), Defendant Entergy Arkansas undertook a planned

outage at Unit 2 at the White Bluff plant.

      86.    During the 2007 White Bluff Unit 2 Outage, Defendant Entergy

Arkansas made a number of physical changes and/or changes in the method of

operation at White Bluff Unit 2 including, but not limited to, replacement of the

economizer in the boiler.

      87.    The physical changes and/or changes in the method of operation at

Unit 2 during the 2007 White Bluff Unit 2 Outage caused emissions of NOx for at

least one 12-month period beginning on or after April 2009 that exceeded baseline

actual emissions for any consecutive 24-month period within the 5-year period

immediately preceding commencement of the 2007 White Bluff Unit 2 Outage by

an amount greater than the applicable PSD significance level.

      88.    Because the physical changes and changes in the method of operation

at Unit 2 during the 2007 White Bluff Unit 2 Outage resulted in post-project

significant emissions increases and significant net emissions increases for NOx, a

major modification occurred for that pollutant. Defendant Entergy Arkansas did

not obtain a PSD permit for that major modification and they are operating the

White Bluff plant without completing a permit application for such permit, without

the permit itself, and without complying with the conditions that would be imposed
                                         26
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by such permit, including but not limited to emission limitations that would be

imposed by that permit pursuant to BACT requirements.

      89.     Moreover, Defendant Entergy Arkansas did not obtain a modified Part

70 permit prior to commencing work on the modification described in the previous

paragraph, yet they are operating the plant without that modified Part 70 permit,

which would have incorporated terms and conditions from a PSD permit, including

emission limitations that would be imposed by a PSD permit pursuant to BACT

requirements.


                              CLAIMS FOR RELIEF

                          Plaintiffs’ First Claim for Relief

            Modifying and Operating the Independence Plant Without
            Obtaining a PSD Permit for a Major Modification at Unit 1

      90.     Plaintiffs reallege all preceding paragraphs as if set forth herein.

      91.     Defendants made a major modification at Independence Unit 1 for

SO2, described in Paragraphs 66 and 67 that caused the significant emissions

increase and significant net emission increase described in Paragraph 68.

      92.     For the major modifications described in the preceding paragraph,

Defendants constructed and are operating the Independence plant without

completing a permit application for a PSD permit, without such PSD permit, and

without complying with the conditions that would be imposed by such permit,
                                           27
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including but not limited to emission limitations that would be imposed by that

permit pursuant to BACT requirements, thereby violating Regulation 19 of the

Arkansas SIP and Clean Air Act.

      93.      Unless restrained and penalized by an order of this Court, these and

similar violations of the PSD provisions of the Act and Arkansas SIP will remain

ongoing.

                          Plaintiffs’ Second Claim for Relief

             Modifying and Operating the Independence Plant Without
                       Obtaining a Modified Part 70 Permit

      94.      Plaintiffs reallege all preceding paragraphs as if set forth herein.

      95.      Defendants made a major modification at Unit 1 for SO2 discussed

above in the First Claim for Relief.

      96.      With respect to SO2, Defendants violated Regulation 26.301(A) and

(C) of the Arkansas SIP by operating Independence without a Part 70 permit

modified to address the major modification discussed above in the First Claim for

Relief.

      97.      Unless restrained and penalized by an order of this Court, these and

similar violations of Regulation 26.301(A) and (C) of the Arkansas SIP will remain

ongoing.




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                         Plaintiffs’ Third Claim for Relief

            Modifying and Operating the Independence Plant Without
            Obtaining a PSD Permit for a Major Modification at Unit 2

      98.     Plaintiffs reallege all preceding paragraphs as if set forth herein.

      99.     Defendants made a major modification at Independence Unit 2 for

SO2, described in Paragraphs 71 and 72 that caused the significant emissions

increase and significant net emission increase described in Paragraph 73.

      100. For the major modifications described in the preceding paragraph,

Defendants constructed and are operating the Independence plant without

completing a permit application for a PSD permit, without such PSD permit, and

without complying with the conditions that would be imposed by such permit,

including but not limited to emission limitations that would be imposed by that

permit pursuant to BACT requirements, thereby violating Regulation 19 of the

Arkansas SIP and Clean Air Act.

      101. Unless restrained and penalized by an order of this Court, these and

similar violations of the PSD provisions of the Act and Arkansas SIP will remain

ongoing.

                         Plaintiffs’ Fourth Claim for Relief

            Modifying and Operating the Independence Plant Without
                      Obtaining a Modified Part 70 Permit

      102. Plaintiffs reallege all preceding paragraphs as if set forth herein.
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      103. Defendants made a major modification at Unit 2 for SO2 discussed

above in the Third Claim for Relief.

      104. With respect to SO2, Defendants violated Regulation 26.301(A) and

(C) of the Arkansas SIP by operating Independence without a Part 70 permit

modified to address the major modification discussed above in the Third Claim for

Relief.

      105. Unless restrained and penalized by an order of this Court, these and

similar violations of Regulation 26.301(A) and (C) of the Arkansas SIP will remain

ongoing.

                         Plaintiffs’ Fifth Claim for Relief

             Modifying and Operating the White Bluff Plant Without
            Obtaining a PSD Permit for a Major Modification at Unit 2

      106. Plaintiffs reallege all preceding paragraphs as if set forth herein.

      107. Defendant Entergy Arkansas made a major modification at White

Bluff Unit 2 for NOx, described in Paragraphs 76 and 77 that caused the significant

emissions increase and significant net emission increase described in Paragraph 78.

      108. For the major modifications described in the preceding paragraph,

Defendant Entergy Arkansas constructed and is operating the White Bluff plant

without completing a permit application for a PSD permit, without such PSD

permit, and without complying with the conditions that would be imposed by such

                                         30
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permit, including but not limited to emission limitations that would be imposed by

that permit pursuant to BACT requirements, thereby violating Regulation 19 of the

Arkansas SIP and the Clean Air Act.

      109. Unless restrained and penalized by an order of this Court, these and

similar violations of the PSD provisions of the Act and Arkansas SIP will remain

ongoing.

                        Plaintiffs’ Sixth Claim for Relief

           Modifying and Operating the White Bluff Plant Without
                    Obtaining a Modified Title V Permit

      110. Plaintiffs reallege all preceding paragraphs as if set forth herein.

      111. Defendant Entergy Arkansas made a major modification at Unit 2 for

NOx discussed above in the Fifth Claim for Relief.

      112. For the major modifications described in the preceding paragraph,

Defendant Entergy Arkansas violated Regulation 26.301(A) and (C) of the

Arkansas SIP by operating White Bluff without a Part 70 permit modified to

address the major modification discussed above in the Fifth Claim for Relief.

      113. Unless restrained and penalized by an order of this Court, these and

similar violations of Regulation 26.301(A) and (C) of the Arkansas SIP will remain

ongoing.




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                       Plaintiffs’ Seventh Claim for Relief

         Violations at the White Bluff Plant of the Opacity Standard in
                            40 C.F.R. § 60.42(a)(2)

      114. Plaintiffs reallege all preceding paragraphs as if set forth herein.

      115. At the White Bluff plant, Defendant Entergy Arkansas has violated

the opacity standard in 40 C.F.R. § 60.42(a)(2) at least 323 times, as detailed in

Exhibit B, attached to this Amended Complaint.

      116. Unless restrained and penalized by an order of this Court, these and

similar violations of 40 C.F.R. § 60.42(a)(2) will remain ongoing.

                        Plaintiffs’ Eighth Claim for Relief

     Violations of the Opacity Standard in the White Bluff Title V Permit

      117. Plaintiffs reallege all preceding paragraphs as if set forth herein.

      118. At the White Bluff plant, Defendant Entergy Arkansas has violated

the opacity standard in Sections 3(b) and 6 of the White Bluff Title V Permit, as

renewed on January 22, 2015 (R8), September 25, 2015 (R9), May 10, 2016 (R10),

and November 8, 2017 (R11) at least 323 times, as detailed in Exhibit B, attached

to this Amended Complaint.

      119. Unless restrained and penalized by an order of this Court, these and

similar violations of the White Bluff Title V permit will remain ongoing.




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                             REQUEST FOR RELIEF

     WHEREFORE, Plaintiffs respectfully request that the Court grant the

following relief:

      120. Declare that Defendants violated and are violating the Clean Air Act;

      121. Permanently enjoin Defendants from operating the Independence and

White Bluff plants except in accordance with the Clean Air Act, the Arkansas SIP,

the New Source Performance Standards, and their Title V Permits;

      122. Order Defendants to submit required permit applications, obtain

required permits, comply with the requirements of any permits obtained, and

submit correct compliance certifications;

      123. Order Defendants to remediate the environmental damage and

ongoing impacts (including the injuries to Plaintiffs’ members as set forth above)

resulting from its violations;

      124. Assess civil penalties against Defendants in the amount of $37,500

per day per violation for violations occurring after November 12, 2009 until

November 2, 2015, and up to $99,681 per day per violation for violations

occurring after November 2, 2015 and for which penalties are assessed on or after

February 6, 2019. 42 U.S.C. §§ 7413(b) and 7413(e); 40 C.F.R. Part 19.4;

      125. Order that, pursuant to 42 U.S.C. § 7604(g)(2), $100,000.00 of the

civil penalties assessed against Defendants be used in beneficial mitigation projects
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to enhance public health and the environment (including enhanced air quality

monitoring) in the areas where Plaintiffs’ members live, work and recreate and that

are adversely impacted by Defendants’ illegal emissions;

      126. Retain jurisdiction of this action to ensure compliance with the

Court’s Order;

      127. Award Plaintiffs their costs of litigation, including reasonable attorney

fees, pursuant to 42 U.S.C. § 7604(d); and

      128. Grant such other relief as the Court deems just and proper.

Dated this 17th day of December, 2019

                                Respectfully submitted,


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                      s/ Naomi Kim Melver
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                      Counsel for Plaintiffs Sierra Club and
                      National Parks Conservation Association




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                    DEMAND FOR JURY TRIAL

Plaintiffs demand a jury trial for all issues so triable.

Dated this 17th day of December, 2019

                           Respectfully submitted,


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                           Counsel for Plaintiffs Sierra Club and
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       Exhibit A




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       Exhibit B




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                                                 EXHIBIT B
                                                                                            Duration
                                                                                               of      Number
                                                        Date of                             Violation of 6 min
Quarter Ending Pollutant       Unit      Max Value Violation Start Time End Time              (min)    events
         Violations of 40 CFR § 60.42(a)(2) and Special Conditions 3(b) and 6 of Permit # 0263-AOP-R7
        3-31-13     Opacity      Unit 2          33       3/23/13         7:42       7:47            6        1
        3-31-13     Opacity      Unit 2          34       3/23/13         8:00       8:11           12        2
        3-31-13     Opacity      Unit 2          22       3/23/13         8:36       8:41            6        1
        3-31-13     Opacity      Unit 2          31       3/23/13         9:42       9:47            6        1
        3-31-13     Opacity      Unit 2          25       3/23/13        13:06      13:11            6        1
        3-31-13     Opacity      Unit 2          25       3/23/13        18:42      18:47            6        1
        6-30-13     Opacity      Unit 1          53        6/2/13         7:36       8:05           30        5
        6-30-13     Opacity      Unit 1          41        6/2/13         8:18       8:23            6        1
        6-30-13     Opacity      Unit 1          22        6/2/13         9:36       9:41            6        1
        6-30-13     Opacity      Unit 1          64        6/2/13        22:06      22:35           30        5
        9-30-13     Opacity      Unit 1          29        7/7/13         2:12       2:17            6        1
        9-30-13     Opacity      Unit 1          42        7/7/13         2:42       2:47            6        1
        9-30-13     Opacity      Unit 1          22        7/7/13         3:06       3:11            6        1
        9-30-13     Opacity      Unit 2          25        8/8/13        14:30      14:41           12        2
        9-30-13     Opacity      Unit 2          21        8/8/13        16:24      16:29            6        1
        9-30-13     Opacity      Unit 2          26        8/8/13        17:48      17:53            6        1
        9-30-13     Opacity      Unit 2          21        8/8/13        20:48      20:53            6        1
        9-30-13     Opacity      Unit 2          23        8/9/13        15:52      15:47            6        1
        9-30-13     Opacity      Unit 2          21       9/14/13        20:12      20:17            6        1
        9-30-13     Opacity      Unit 2          21       9/14/13        20:42      20:47            6        1
      12-31-13      Opacity      Unit 2          37       10/7/13        15:00      15:17           18        3
      12-31-13      Opacity      Unit 2          40       10/7/13        15:24      16:05           42        7
      12-31-13      Opacity      Unit 2          22       10/7/13        16:12      16:41           30        5
      12-31-13      Opacity      Unit 1          47      10/10/13        22:00      22:11           12        2
      12-31-13      Opacity      Unit 1          30      10/10/13        22:18      22:23            6        1
      12-31-13      Opacity      Unit 1          33      10/10/13        22:36      22:41            6        1
      12-31-13      Opacity      Unit 1          23      10/10/13        23:48      23:59           12        2
      12-31-13      Opacity      Unit 2          29      10/31/13         5:12       5:17            6        1
      12-31-13      Opacity      Unit 1          36      11/16/13        19:00      19:11           12        2
      12-31-13      Opacity      Unit 1          52      11/16/13        22:06      22:29           24        4
      12-31-13      Opacity      Unit 2          48       12/6/13        14:30      14:35            6        1
      12-31-13      Opacity      Unit 2          29       12/9/13        15:42      15:47            6        1
      12-31-13      Opacity      Unit 1          28      12/12/13        13:06      13:11            6        1
      12-31-13      Opacity      Unit 1          50      12/12/13        19:36      19:53           18        3
      12-31-13      Opacity      Unit 1          26      12/12/13        20:30      20:35            6        1
        3-31-14     Opacity      Unit 1          29       2/14/14         9:24       9:29            6        1
        3-31-14     Opacity      Unit 1          73       2/14/14         9:36      10:11           36        6
        3-31-14     Opacity      Unit 1          38       2/14/14        10:18      10:35           18        3
        3-31-14     Opacity      Unit 1          24       2/14/14        10:42      10:59           18        3
        3-31-14     Opacity      Unit 1          61       2/14/14        11:06      11:59           54        9
        3-31-14     Opacity      Unit 1          26       2/14/14        12:06      12:11            6        1


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                                                 EXHIBIT B
                                                                                            Duration
                                                                                               of      Number
                                                        Date of                             Violation of 6 min
Quarter Ending Pollutant       Unit      Max Value Violation Start Time End Time              (min)    events
        3-31-14     Opacity      Unit 1          28       2/14/14        13:06      13:17           12        2
        3-31-14     Opacity      Unit 1          37       2/14/14        17:06      17:35           30        5
        3-31-14     Opacity      Unit 1          21       2/14/14        20:18      20:23            6        1
        3-31-14     Opacity      Unit 2          21        3/8/14        17:48      17:59           12        2
        3-31-14     Opacity      Unit 2          21        3/9/14         0:42       0:47            6        1
        3-31-14     Opacity      Unit 2          21        3/9/14        12:06      12:11            6        1
        3-31-14     Opacity      Unit 2          21        3/9/14        12:36      12:41            6        1
        3-31-14     Opacity      Unit 2          21        3/9/14        16:30      16:35            6        1
        3-31-14     Opacity      Unit 2          21        3/9/14        20:30      20:35            6        1
        3-31-14     Opacity      Unit 2          21       3/11/14        12:06      12:11            6        1
        6-30-14     Opacity      Unit 2          68       4/25/14        12:00      12:29           30        5
        6-30-14     Opacity      Unit 2          29       4/25/14        12:36      12:59           24        4
        6-30-14     Opacity      Unit 1          36        5/4/14         1:42       2:05           24        4
        6-30-14     Opacity      Unit 1          38        5/4/14         6:12       6:23           12        2
        6-30-14     Opacity      Unit 1          40        5/4/14         6:36       6:53           18        3
        6-30-14     Opacity      Unit 1          32       5/12/14         9:48       9:53            6        1
        6-30-14     Opacity      Unit 1          33       5/12/14        10:48      10:53            6        1
        9-30-14     Opacity      Unit 1          32        9/8/14        20:12      20:17            6        1
        9-30-14     Opacity      Unit 1          31        9/8/14        20:36      20:41            6        1
        9-30-14     Opacity      Unit 1          21        9/8/14        20:48      20:53            6        1
        9-30-14     Opacity      Unit 1          22        9/8/14        21:24      21:29            6        1
        9-30-14     Opacity      Unit 1          37       9/16/14        10:36      10:59           24        4
        9-30-14     Opacity      Unit 1          33       9/16/14        12:12      12:41           30        5
        9-30-14     Opacity      Unit 1          21       9/16/14        13:12      13:17            6        1
      12-31-14      Opacity      Unit 2          27       10/6/14        18:24      18:41           18        3
      12-31-14      Opacity      Unit 2          23       10/6/14        19:42      19:47            6        1
      12-31-14      Opacity      Unit 2          24       10/6/14        20:12      20:17            6        1
      12-31-14      Opacity      Unit 2          64      11/24/14        18:42      19:41           60       10
      12-31-14      Opacity      Unit 2          23      11/24/14        19:48      19:53            6        1
      12-31-14      Opacity      Unit 1          38      11/29/14        10:18      10:23            6        1
      12-31-14      Opacity      Unit 1          37      11/29/14        10:42      10:53           12        2
      12-31-14      Opacity      Unit 1          49      11/29/14        11:00      11:17           18        3
      12-31-14      Opacity      Unit 1          27      11/29/14        11:24      11:47           24        4
      12-31-14      Opacity      Unit 1          23      11/29/14        18:42      18:47            6        1
      12-31-14      Opacity      Unit 1          21      11/29/14        20:24      20:29            6        1
      12-31-14      Opacity      Unit 1          22      11/29/14        20:42      20:47            6        1
      12-31-14      Opacity      Unit 1          24      11/29/14        20:54      20:59            6        1
        3-31-15     Opacity      Unit 1          26        1/3/15        17:24      17:29            6        1
         Violations of 40 CFR § 60.42(a)(2) and Special Conditions 3(b) and 6 of Permit # 0263-AOP-R8
        3-31-15     Opacity      Unit 1          24        2/2/15        10:06      10:17           12        2
        3-31-15     Opacity      Unit 2          46        2/3/15         6:12       6:29           18        3
        3-31-15     Opacity      Unit 2          33        2/3/15         6:36       6:47           12        2


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                                                 EXHIBIT B
                                                                                            Duration
                                                                                               of      Number
                                                        Date of                             Violation of 6 min
Quarter Ending Pollutant       Unit      Max Value Violation Start Time End Time              (min)    events
        3-31-15     Opacity      Unit 1          36       2/18/15         1:18       1:23            6        1
        3-31-15     Opacity      Unit 1          30       2/18/15         5:42       5:53           12        2
        3-31-15     Opacity      Unit 1          24       2/18/15         6:12       6:23           12        2
        3-31-15     Opacity      Unit 1          28       2/18/15        18:18      18:23            6        1
        3-31-15     Opacity      Unit 2          40        3/4/15         6:24       6:29            6        1
        3-31-15     Opacity      Unit 2          27        3/4/15         9:24       9:47           24        4
        3-31-15     Opacity      Unit 1          51        3/9/15         5:30       5:41           12        2
        9-30-15     Opacity      Unit 2          28        7/8/15        13:18      13:23            6        1
        9-30-15     Opacity      Unit 2          34        7/8/15        13:30      13:41           12        2
        9-30-15     Opacity      Unit 2          39        9/1/15        13:48      14:05           18        3
        9-30-15     Opacity      Unit 2          31        9/1/15        14:12      14:17            6        1
        9-30-15     Opacity      Unit 1          53       9/13/15        12:48      12:59           12        2
        9-30-15     Opacity      Unit 1          41       9/13/15        13:06      13:17           12        2
        9-30-15     Opacity      Unit 1          37       9/13/15        15:24      15:29            6        1
        9-30-15     Opacity      Unit 1          66       9/13/15        15:42      16:11           30        5
        9-30-15     Opacity      Unit 1          21       9/13/15        16:24      16:29            6        1
        9-30-15     Opacity      Unit 1          31       9/13/15        16:36      16:59           24        4
        9-30-15     Opacity      Unit 1          26       9/13/15        17:24      17:41           18        3
         Violations of 40 CFR § 60.42(a)(2) and Special Conditions 3(b) and 6 or Permit # 0263-AOP-R9
        9-30-15     Opacity      Unit 2          25       9/28/15        13:48      13:53            6        1
      12-31-15      Opacity      Unit 2          24      12/15/15         6:42       6:53           12        2
        Violations of 40 CFR § 60.42(a)(2) and Special Conditions 3(b) and 6 of Permit # 0263-AOP-R10
        6-30-16     Opacity      Unit 2          43       6/21/16        14:30      14:41           12        2
      12-31-16      Opacity      Unit 1          44      12/10/16         5:24       5:59           36        6
      12-31-16      Opacity      Unit 1          57      12/10/16         6:06       6:29           24        4
      12-31-16      Opacity      Unit 1          39      12/10/16         6:36       6:59           24        4
      12-31-16      Opacity      Unit 1          23      12/10/16         7:06       7:23           18        3
      12-31-16      Opacity      Unit 1          22      12/10/16        12:30      12:35            6        1
      12-31-16      Opacity      Unit 1          40      12/13/16        22:30      22:59           30        5
      12-31-16      Opacity      Unit 1          35      12/13/16        23:12      23:59           48        8
      12-31-16      Opacity      Unit 1          22      12/14/16         2:18       2:23            6        1
      12-31-16      Opacity      Unit 1          22      12/14/16         2:30       2:59           30        5
      12-31-16      Opacity      Unit 1          21      12/14/16         3:12       3:17            6        1
      12-31-16      Opacity      Unit 1          21      12/14/16         3:54       3:59            6        1
        3-31-17     Opacity      Unit 1          92       2/16/17         5:00       6:29           90       15
        3-31-17     Opacity      Unit 1          82       2/16/17         6:36       7:35           60       10
        3-31-17     Opacity      Unit 1          22       2/16/17         7:42       7:47            6        1
        3-31-17     Opacity      Unit 1          81       2/16/17         9:00      12:05         186        31
        3-31-17     Opacity      Unit 1          24       2/16/17        12:12      12:35           24        4
        3-31-17     Opacity      Unit 1          38       2/16/17        12:42      13:05           24        4
                                          Totals                                                 1938       323




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